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                        Exhibit A
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                         1N THE UNITED STATES BANKRUPTCY COURT

                                  FOR THE DISTRICT Or DELAWARE


In re:                                                     ) Chapter 11

THE WALKING COMPANY HOLDINGS,                              ) Case No.: 18-10474(LSS)
INC., et al.,l                                             )
                                                             Jointly Administered
                                    Debtors.               )
                                                             Ike: Docket No. 441

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         OBJF,CTION(NON-SUBSTANTIVE)TO CERTAIN (I) AMENllED CLAIMS,
                      AND (II)INSUFFICIENT DOCUMENTATION CLAIMS

                  Upon consideration of the objection (the "Objection"),Z of the above captioned

reorganized debtors (the "Debtors"), pursuant to section 502 of title 11 of the United States Code

(the "Bankruptcy Code"), Rule 3007 of the Federal Rules of Bankruptcy Procedure

(the `Bankruptcy Rules"), and Rule 3007-1 of the Local Rules of Bankruptcy Practice and

Procedure of the United States Bankruptcy Court for the District of Delaware (the "Local

Rules"), for entry of an order expunging certain proofs of claim, all as more fully set forth in the

Objection; and upon consideration of the Saltoun Declaration; and this Court having jurisdiction

to consider the Objection and the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334,

and the Amended Standing ONdeN ofRefeNence from the United States District Court for the

District of Delaware dated February 29, 2012; and consideration of the Objection and the

requested relief being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper

before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice ofthe

I The Debtors and the last four digits of their respective taxpayer identification numbers include: The Walking
  Company Holdings, Inc.(8665); The Walking Company (2061); Big Dog USA,Inc.(5316); and FootSmart, Inc.
  (9736). The headquarters and service address for the above-captioned Debtors is 25 W. Anapamu, Santa Barbara,
  CA 93101.

2 Capitalized terms used but not otherwise herein defined shall have the meanings ascribed to such tenlis in the
  Objection.


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Objection having been provided to the parties listed therein, and it appearing that no other or

further notice need be provided; and this Court having reviewed the Objection; and this Court

having determined that the legal and factual bases set forth in the Objection establish just cause

for the relief granted herein; and it appearing that the relief requested in the Objection is in the

best interests of the Debtors, their estates, creditors, and all parties in interest; and upon all of the

proceedings had before the Court and after due deliberation and sufficient cause appearing

therefor,

                 IT IS HERBY ORDERED THAT:

                             The Objection is granted as provided herein.

                 2.          Pursuant to section 502 ofthe Bankruptcy Code, Bankruptcy Rule 3007,

and Local Rule 3007-1, the proofs of claim listed on Exhibit 1 annexed hereto under the heading

"Amended and Superseded Claims" are disallowed and expunged in their entirety.

                 3.          Pursuant to section 502 of the Bankruptcy Code, Bankruptcy Rule 3007,

and Local Rule 3007-1, the proofs of claim listed on Elhibit 2 annexed hereto under the heading

"Insufficient Documentation Claims" are disallowed and expunged in their entirety.

                 4.          This Order has no res judicata, estoppel, or other effect on the validity,

allowance, or disallowance of any claim referenced and/or identified in the Objection that is or is

not listed on Exhibits 1 or 2 annexed hereto, and all rights to object to or defend against such

claims on any basis or other bases are expressly reserved.

                 5.          Should one or more of the grounds of objection stated in the Objection be

dismissed, the Debtors' right to object on any other grounds that the Debtors discover during the

pendency of these Chapter 11 Cases are preserved.




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                 6.         Each of the claims and the objections by the Debtors to such claims, as set

forth on Eihibits 1 and 2 hereto, constitutes a separate contested matter as contemplated by

Bankruptcy Rule 9014 and Local Rule 3007-1. This Order shall be deemed a separate Order

with respect to each such claim. Any stay of this Order pending appeal by any claimants whose

claims are subject to this Order shall only apply to the contested matter which involves such

claimant and shall not act to stay the applicability and/or finality of this Order with respect to the

other contested matters listed in the Objection or this Order.

                 7.         The Debtors', its claims and noticing agent, and the Clerk of this Court are

authorized to take all steps necessary or appropriate to carry out this Order.

                            This Court shall retain jurisdiction to hear and determine all matters

arising from or related to the implementation, interpretation, or enforcement of this Order.




Dated:                              .2018
         Wilmington, Delaware

                                                 THE HONORABLE LAURIE S. SILVERSTEIN
                                                 UNITED STATES BANKRUPTCY JUDGE




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                                       Exhibit 1

                             Amended and Superseded Claims




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                                                   AMENDED EXHIBIT

                                                              - .-.
                                                                 .-

                                                       ~-          -.
                                                                                   Claim #8 has been amended and
County of Orange                                 124          8         $15,583.67 superseded by claim 124
                                                                                  Claim #124 has been amended and
County of Orange                                 379         124        $14,32.79 superseded by claim 379
                                                                                    Claim #9 has been amended and
Los Angeles County Treasurer and Tax Collector   408          9         $11,46G~.36 superseded by claim #408
                                                                                   Claim #163 has been amended and
THE SHOE HOUSE, INC.                             212         163         $5,280.00 superseded by claim #381
                                                                                    Claim #212 has been amended and
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THE SHOE HOUSE, INC.                             381         212         $5,28Ci.00 superseded by claim #381
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                                          Exhibit 2

                              Insufficient Documentation Claims




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                              INSUFFICIENT DOCUMENTATION EXHIBIT

                                                                                  . .


Angela Sims                         369                $0.00 No documentation attached to claim.

Brianna Brown                       57             $1,500.00 No documentation attached to claim.

Jessenia Santana                    235              $400.00 No documentation attached to claim.

LaJuan Kinnemore                    372           $35,000.00 No documentation attached to claim.

Mallory Roco                        70             $1,733.52 No documentation attached to claim.

Victoria Figueroa                   115            $6,150.00 No documentation attached to claim.
